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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:

Hannah Solar, LLC,                                            CHAPTER 11

                                                              Case No. 19-57651-PMB


               Debtor.
                                                              JUDGE BAISIER

                                    NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Debtor has filed a Consent Motion to Approve Joint
Check Procedures and Cady Bag Minor Work Agreement and related papers (collectively, the
"Motion") with the Court seeking entry of an order authorizing the Debtor to enter into and perform
under the Cady Bag Minor Work Agreement and Joint Payment Agreements (both as defined in
the Motion).

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1202, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303
at 2:00 PM on July 15, 2019.

        PLEASE TAKE FURTHER NOTICE that your rights may be affected by the Court's
ruling on this Motion. You should read this Motion carefully an discuss it with your attorney, if
you have one in this bankruptcy case. (If you do not have any attorney, you may wish to consult
one.) If you do not want the Court to grant the relief sought in the Motion or if you want the Court
to consider your views, then you and/or your attorney must attend the hearing. You may also file
a written response to the Motion with the Clerk at the address stated below, but you are not required
to do so. If you file a written response, you must attach a certificate stating when, how and on
whom (including addresses) you served the response. Mail or deliver your response to that it is
received by the Clerk at least two business days before the hearing. The address of the Clerk's
Office is:
                                   Clerk, U.S. Bankruptcy Court
                                             Suite 1340
                                       75 Ted Turner Drive
                                        Atlanta, GA 30303

You must also mail a copy of your response to the undersigned at the address stated below.
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           Dated:   June 24, 2019.


             By: /s/ Garrett A. Nail              By: /s/ Michael D. Robl
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             Co-Counsel for the Debtor            Co-Counsel for the Debtor




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:

Hannah Solar, LLC,                                          CHAPTER 11

                                                            Case No. 19-57651-PMB


               Debtor.
                                                            JUDGE BAISIER

CONSENT MOTION TO APPROVE JOINT CHECK AGREEMENTS AND CADY BAG
                    MINOR WORK AGREEMENT

         COMES NOW the above-captioned debtor and debtor-in-possession (the "Debtor") and,

with the support and consent of its creditors REC Commercial Solar Corporation ("REC") and

Southbound Solar, LLC ("Southbound" and, together with REC, the "Counterparties"; and

collectively with the Debtor, the "Movants"), by and through their respective undersigned

attorneys, and hereby files this Consent Motion to Approve Joint Check Agreements and Cady

Bag Minor Work Agreement (the "Motion"). In support hereof, the Movants respectfully represent

as follows:

                                JURISDICTION AND VENUE

         1.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2)(M). Venue in this district is

proper pursuant to 28 U.S.C. § 1408.

         2.    The statutory predicates for the relief sought herein are Sections 105(a) and 363 of

the Bankruptcy Code and Rule 6004 of the Federal Rules of Bankruptcy Procedure (the

"Bankruptcy Rules").
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                                              BACKGROUND

           3.    On May 15, 2019 (the "Petition Date"), the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

"Bankruptcy Code").

           4.    The Debtor continues to manage and operate its business as a debtor-in-possession

under Section 1107 and 1108 of the Bankruptcy Code, and no trustee or examiner has been

appointed.

           5.    The Debtor was, and is, in the business of, among other things, designing,

constructing, and installing solar power projects for both commercial and residential customers.

See [D.E. 9-2] (the "Marte Declaration") at ¶ 3.

           6.    Prior to the Petition Date, the Debtor and the Counterparties entered into two,

interrelated agreements:

                 (a)      That certain Asset Purchase Agreement dated as of June 29, 2018 by and

between Southbound, as purchaser, and the Debtor and certain of its affiliates, as sellers (the

"APA"); and

                 (b)      That certain Master Engineering, Procurement, and Construction

Agreement dated as of June 29, 2018 by and between REC and the Debtor (the "EPC Agreement"

and, together with the APA, the "Solar Agreements").1

           7.    Together, the Solar Agreements contemplated that the Debtor would construct and

then sell to Southbound certain solar photovoltaic projects located within the state of Georgia.

Specifically, the EPC Agreement provided that the Debtor would design, develop, construct, and




1
  The Solar Agreements have been omitted due to confidentiality concerns; however, the Movants will make available
the Solar Agreements to the Court for an in camera review if so requested.



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install two (2)2 solar photovoltaic projects, named Cady Bag ("Cady Bag") and McClesky Cotton

("McClesky" and, together with Cady Bag, each a “Solar Project” and collectively, the "Solar

Projects"). See EPC Agreement at § B. The APA then facilitated the transfer to Southbound of

the completed and installed Solar Projects. See APA at § 2.02.

           8.    Among other things, the EPC Agreement permitted the Debtor's use of

subcontractors to "undertake all or any portion" of the construction and installation required to

complete the Solar Projects. EPC Agreement § 2.14. Accordingly, the EPC Agreement contained

a number of safeguards, including:

                 (a)      Lien Removal. In the event a subcontractor filed a lien on any of the Solar

Projects, the Debtor had an affirmative duty to "bond over or otherwise remove such [l]ien." Id. at

§ 2.13;

                 (b)      Joint Check Provision. If REC had a "reasonable belief" that the Debtor

failed or likely would fail to timely pay any subcontractor, supplier, or vendor, REC was entitled

to make "any payment otherwise due [to the Debtor] . . . by joint check" pursuant to "a joint check

agreement in a form required by REC" (the "Joint Check Clause"). Id. at § 3.5;

                 (c)      Indemnity. The Debtor was required to indemnify REC for losses that,

among other things, arose out of the Debtor's "breach in any material respect of any of the

representations, warranties, covenants, or agreements" in the EPC Agreement. Id. at § 7.1; and

                 (d)      Termination. Upon the occurrence of an "Event of Default" (defined to

include, among other things, the failure to timely meet payment obligations), the non-defaulting

party was permitted to terminate the EPC Agreement, with most obligations surviving the

termination. Id. at §§ 9.2, 9.3, 9.4.


2
  The Solar Agreements actually contemplated the construction and sale of three projects; however, one was cancelled
for reasons not relevant here.



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           9.    In exchange for the Debtor's development and construction pursuant to the EPC

Agreement, REC agreed to pay to the Debtor a certain contract price for each of the Solar Projects

(as used and defined in the EPC Agreement, the "Contract Price"), due and payable in installments

after the Debtor's achievement of various Milestones (as defined in the EPC Agreement) for each

Solar Project. Id. at § 2.1. REC is entitled to reduce or offset any Contract Price to the extent REC

used the Joint Check Clause to pay subcontractors, vendors, or suppliers. Id. at § 3.5.

           10.   After execution of the Solar Agreements, the Debtor began work on the Solar

Projects, making substantial progress.      Approximately one month before the Petition Date,

however, REC became aware that the Debtor had not paid a significant number of subcontractors,

vendors, and/or suppliers.

           11.   Accordingly, on April 9, 2019, REC issued to the Debtor a notice of default, stating

the names of the unpaid parties and the amounts owed thereto. The Debtor was unable to cure the

default, so REC terminated the EPC Agreement on April 24, 2019. Since terminating the EPC

Agreement, on May 2, 2019, REC and the Debtor entered into that certain Minor Work Subcontract

Agreement to complete the McClesky Solar Project (the “McClesky Minor Work Agreement”)

that includes provisions authorizing the use and offset of joint checks.

           12.   Post-termination, REC (with the Debtor's consent and support) issued a number of

joint checks to the Debtor and its subcontractors and/or suppliers pursuant to the form joint

payment agreements referenced in the Joint Check Clause and the McClesky Minor Work

Agreement. Due to the continued and anticipated cooperation among REC and the Debtor, the

Solar Projects are nearing completion.




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                                          RELIEF REQUESTED

           13.   Pursuant to Section 363 of the Bankruptcy Code and Bankruptcy Rule 6004, the

Movants seek entry of an order, substantially in the form attached hereto as Exhibit A (the

"Order"):

                 (a)      authorizing the Debtor and REC to enter into and perform under both –

                          (i)     a Minor Work Subcontract Agreement with respect to Cady Bag (the

"Cady Bag Minor Work Agreement"), substantially similar to the draft/form attached hereto as

Exhibit B, pursuant to which the Debtor will complete certain outstanding work on Cady Bag, and

                          (ii)    joint payment agreements (each, a "Joint Payment Agreement"),

substantially similar to the form attached hereto as Exhibit C, pursuant to which REC will issue

joint checks to the Debtor and any subcontractor, supplier, or vendor performing work on the Solar

Projects until the completion of the Solar Projects; and

                 (b)      to the extent applicable, waiving the 14-day stay under Bankruptcy Rule

6004(h).3

                                           BASIS FOR RELIEF

I.         THE CADY BAG MINOR WORK AGREEMENT AND JOINT PAYMENT
           AGREEMENTS ARE ORDINARY COURSE TRANSACTIONS.

           14.   The Debtor's entry into and performance under the Cady Bag Minor Work

Agreement and the Joint Payment Agreements should be approved as "ordinary course"

transactions within the meaning of Bankruptcy Code Section 363(c)(1). Pursuant to Section

363(c)(1) of the Bankruptcy Code, a debtor-in-possession may enter into a transaction "in the

ordinary course of business, without notice or a hearing, and may use property of the estate in the



3
  Movants do not intend for this Motion to constitute any assumption of any of the Solar Agreements. The Debtor
reserves its rights with regard to the Solar Agreements, including its rights under 11 U.S.C. § 365.



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ordinary course of business without notice or a hearing." 11 U.S.C. § 363(c)(1). "The term

'ordinary course' has generally been interpreted 'to embrace the reasonable expectations of

interested parties of the nature of the transactions that the debtor would likely enter in the course

of its normal, daily business.'" In re Atlanta Retail, 287 B.R. 849, 856 (Bankr. N.D. Ga. 2002)

(quoting Med. Malpractice Ins. Ass'n v. Hirsch (In re Lavigne), 114 F.3d 379, 384 (2d Cir. 1997)).

A key touchstone for determining ordinariness is the "prior practices of the company itself." In re

D'Lites of Am., Inc., 108 B.R. 352, 355 (Bankr. N.D. Ga. 1989).             Thus, the post-petition

continuance of a pre-petition action – particularly a recurring one – almost certainly is ordinary

course. Cf. id. See also, e.g., Rissell v. Kapila, No. 18-cv-61927-BLOOM, 2018 U.S. Dist. LEXIS

181589, at *5 (S.D. Fla. Oct. 22, 2018) ("Debtor's business is leasing real property . . . Thus, it

appears even though [the parties] sought the Court's approval of the lease, it may not have been

required.") (citing 11 U.S.C. § 363(c)(1).

           15.   Here, the Cady Bag Minor Work Agreement and Joint Payment Agreements are

well-within the ordinary course of the Debtor's business. As set forth in the Marte Declaration,

the Debtor is in the business of constructing and installing solar projects. See Marte Declaration

at ¶ 3. Thus, the Cady Bag Minor Work Agreement and Joint Payment Agreements – both of

which will permit the completion of the Solar Projects – undoubtedly are "transactions that the

[D]ebtor would likely enter in the course of its normal, daily business." Atlanta Retail, 287 B.R.

at 856 (internal citations and quotations omitted).

           16.   Moreover, both the Cady Bag Minor Work Agreement and the Joint Payment

Agreements are substantially similar to (if not the same as) transactions the Debtor entered into

prepetition. The Cady Bag Minor Work Agreement is similar in form and scope to the McClesky

Minor Work Agreement, which the Debtor entered into after termination of the EPC Agreement.




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The Joint Payment Agreement is the same as those which the Debtor and REC entered into on a

rolling basis after termination of the EPC Agreement. The McClesky Minor Work Agreement and

the prepetition Joint Payment Agreements collectively ensured that the Debtor's suppliers or

subcontractors providing necessary labor or materials on-site at McClesky received payment –

consistent with the Debtor's continuing rights and obligations under the EPC Agreement and

McClesky Minor Work Agreement. The Movants simply seek to continue this practice post-

petition so that the Solar Projects can be completed. This type of post-petition continuation of a

prepetition transaction is the hallmark of an ordinary course transaction. See, e.g., D'Lites, 108

B.R. at 355. Accordingly, the Movants respectfully submit that the Debtor may enter into and

perform under the Cady Bag Minor Work Agreement and post-petition Joint Payment Agreements

(with respect to both Cady Bag and McClesky) in the ordinary course of its business, without

notice or a hearing.

           17.   In an abundance of caution, however, and to the extent that entering into the Cady

Bag Minor Work Agreement and/or post-petition Joint Payment Agreements is deemed to be

outside of the ordinary course of the Debtor's business, the Debtor (with the Counterparties'

support and consent) seeks Court authority to enter into and perform under the Cady Bag Minor

Work Agreement and the Joint Payment Agreements pursuant to Section 363(b) of the Bankruptcy

Code.

II.        ALTERNATIVELY, USE OF THE JOINT PAYMENT AGREEMENTS IS
           WITHIN THE SOUND BUSINESS JUDGMENT OF THE DEBTOR AND SHOULD
           BE APPROVED.

           18.   Bankruptcy Code Section 363(b)(1) provides, in relevant part, that a debtor-in-

possession, "after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

business, property of the estate." 11 U.S.C. § 363(b)(1). Section 363 of the Bankruptcy Code does

not set forth the relevant standard to determine the propriety of a proposed transaction; however,


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"the vast majority of courts" have adopted the "business judgment test." In re Diplomat Constr.,

Inc., 481 B.R. 215, 218 (Bankr. N.D. Ga. 2012) (citing In re Lionel Corp., 722 F.2d 1063 (2d Cir.

1983)). Under this standard, the Debtor must show "some articulated business justification" for a

transaction outside of the ordinary course. Lionel, 722 F.2d at 1070.

           19.   Here, there are at least two compelling "business justification[s]," id., that support

the Movants' use of the Cady Bag Minor Work Agreement and the Joint Payment Agreements.

First, and perhaps most importantly, the Cady Bag Minor Work Agreement and the Joint Payment

Agreements will enable the completion of the Solar Projects. Upon completion of the Solar

Projects, the Debtor may be entitled to the Contract Price (as defined in the EPC Agreement) for

each Solar Project, net of the payments made under the Joint Payment Agreements. In other words,

the Cady Bag Minor Work Agreement and the Joint Payment Agreements could result in revenue

to the Debtor – in clear aid to the reorganization effort. Likewise, the Debtor's demonstrated ability

to keep commitments and complete construction projects will be instrumental in its bid to rebuild

its brand, reorganize successfully, and exit chapter 11 as a viable business.

           20.   Second, the Cady Bag Minor Work Agreement and the Joint Payment Agreements

will minimize REC's claims against the Debtor. Under the indemnification provisions of the EPC

Agreement (which survived termination), the Debtor is obligated to indemnify REC for, among

other things, the costs to remove any liens filed against the Solar Projects. See EPC Agreement at

§§ 2.14(d) ("[Debtor] shall . . . ensure that the Project and Site remain free of any Liens arising

through [Debtor] or any of its Subcontractors."); 7.1 ("[Debtor] agrees to indemnify, defend and

hold harmless [REC] from and against any and all Losses incurred by [REC] in connection with

or arising out of p[ any . . . breach in any material respect of any . . . covenants or agreements made

by [Debtor] in this Agreement."). Thus, ensuring that the on-site subcontractors and suppliers get




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paid – and the Solar Projects remain lien-free – inures directly to the benefit of the Debtor and its

constituents.4

           21.   In sum, entry into and performance under the Cady Bag Minor Work Agreement

and the Joint Payment Agreements plainly is in the best interests of the Debtor and its estate. Not

only will the Cady Bag Minor Work Agreement and the Joint Payment Agreements help the Debtor

rebuild its base and brand, but they will also reduce potential claims. Even better, the Cady Bag

Minor Work Agreement and the Joint Payment Agreements could result in funds for the Debtor's

ongoing operations. Accordingly, the Debtor has demonstrated a clear business justification for

the Cady Bag Work Agreement and the Joint Payment Agreements, and the Motion should be

granted.

           22.   In addition, the Movants respectfully request that the Court waive the stay under

Bankruptcy Rule 6004(h), which provides that an order "authorizing the use, sale, or lease of

property . . . is stayed until the expiration of 14 days after entry of the order, unless the court orders

otherwise." FED. R. BANKR. P. 6004(h).

                                               CONCLUSION

           WHEREFORE, the Movants respectfully request that the Court: (i) enter the Order (a)

authorizing but not directing the Debtor to enter into and authorizing but not directing the Debtor

to perform under the Cady Bag Minor Work Agreement and the Joint Payment Agreements until

the completion of the Solar Projects, and (b) waiving the stay pursuant to Bankruptcy Rule

6004(h); and (ii) grant such other and further relief as is right and proper under the circumstances.

    Dated:       June 24, 2019.

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  This is particularly true if the Debtor's non-payment results in a post-petition lien, as the removal cost may be
classified as an expense entitled to administrative priority. Cf. WM Inland Adjacent LLC v. Mervyn's LLC (In re
Mervyn's Holdings, LLC), Nos. 08-11586 (KG), 09-50920 (KG), 2013 Bankr. LEXIS 67 (Bankr. D. Del. Jan. 8, 2013)
(holding that a post-petition indemnification claim arising from the removal of a mechanic's lien was entitled to
administrative priority).



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